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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

LATOYA PITTS,                                 )
                                              )
       Plaintiff,                             )
                                              )       No. 1:10-cv-835
       vs.                                    )
                                              )
PN CREDIT SERVICES, INC.,                     )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                            COMPLAINT

       NOW COMES the Plaintiff, LATOYA PITTS, by and through her attorneys,

LUXENBURG & LEVIN, LLC, and for her Complaint against the Defendant, PN CREDIT

SERVICES, INC., Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq., and the Ohio

Consumer Sales Practices Act (hereinafter the “OCSPA”), Ohio Rev. Code § 1345.01, et seq.

                                JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                             PARTIES

       3.      Plaintiff is an individual who was at all relevant times residing in Fairfield, Ohio.

       4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as she is a natural

person allegedly obligated to pay a debt.
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        5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt

allegedly owed by Plaintiff.

        6.      On information and belief, Defendant is a corporation of the State of

Massachusetts, which is not licensed to do business in Ohio and which has its principal place of

business in Stoughton, Massachusetts.

                                              COUNT I

                        (Violation of the Fair Debt Collection Practices Act)

        7.      Beginning on or about June 14, 2010, Defendant’s representatives and/or

employees, including but not limited to an individual who identified himself as Chris Owens,

began contacting by telephone in attempts to collect the aforementioned alleged debt.

        8.      During the aforementioned telephone calls, Defendant’s representatives and/or

employees threatened to initiate a lawsuit against Plaintiff, despite the fact that the Defendant is

not a law firm nor would Defendant have the legal standing to take such an action.

        9.      Defendant’s representatives and/or employees also made referenced to Plaintiff to

certain attorneys who supposedly worked for Defendant in the collection process, thereby falsely

representing or implying that they were communicating on behalf of attorneys.

        10.     Further, Defendant’s representatives and/or employees falsely told Plaintiff that

she had no legal right to request verification of the alleged debt.

        11.     On or about July 2, 2010, Plaintiff mailed a letter to Defendant requesting that all

communications from the Defendant to her cease.

        12.     However, Defendant’s representatives and/or employees continued to contact

Plaintiff in further attempts to collect the alleged debt, despite Plaintiff’s request.




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       13.    In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

              a.        Threatening to take action that could not legally be taken and/or that was

                        not intended to be taken, in violation of 15 U.S.C. § 1692e(5);

              b.        Falsely representing or implying that Defendant’s employee was an

                        attorney or was communicating on behalf of an attorney, in violation of 15

                        U.S.C. § 1692e(3);

              c.        Using a false, deceptive or misleading representation or means in

                        connection with the collection of the alleged debt or to obtain information

                        about Plaintiff, in violation of 15 U.S.C. § 1692e(10);

              d.        Continuing to communicate with Plaintiff after Defendant was notified in

                        writing that Plaintiff wished for Defendant to cease further communication

                        with her, in violation of 15 U.S.C. § 1692c(c); and

              e.        By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with the FDCPA.

       14.    As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, LATOYA PITTS, respectfully prays for a judgment against

Defendant as follows:

              a.        Statutory damages of $1,000.00 for each violation of the FDCPA;

              b.        All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

              c.        Any other relief deemed appropriate by this Honorable Court.




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                                              COUNT II

                      (Violation of the Ohio Consumer Sales Practices Act)

       15.     Plaintiff hereby adopts, re-alleges and incorporates by reference all allegations set

forth above as though fully rewritten here.

       16.     Defendant’s actions in attempting to collect the alleged debt from Plaintiff as

described above constitute a “consumer transaction” as defined in Ohio Rev. Code § 1345.01(A).

       17.     Defendant is a “supplier” as defined in Ohio Rev. Code § 1345.01(C), as

Defendant is in the business of effecting or soliciting consumer transactions.

       18.     Plaintiff is a “consumer” as defined in Ohio Rev. Code § 1345.01(C), as he is a

person who engaged in a consumer transaction with a supplier, the Defendant herein.

       19.     Defendant’s actions and omissions described above constitute unfair, deceptive

and unconscionable acts and practices, in violation of Ohio Rev. Code §§ 1345.02 and 1345.03,

and the substantive rules promulgated under the OCSPA.

       20.     Defendant, through its agents and employees, knowingly committed the unfair,

deceptive and unconscionable acts and practices described above.

       21.     As a result of Defendant’s unfair, deceptive and unconscionable acts and

practices, Plaintiff has suffered, and continues to suffer, various damages which include, but are

not limited to the categories of damages described above.

       WHEREFORE, Plaintiff, LATOYA PITTS, respectfully prays for a judgment against

Defendant as follows:

               a.       Statutory damages of $200.00 for each violation of the OCSPA;

               b.       All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and




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               c.      Any other relief deemed appropriate by this Honorable Court.


                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of her claims in this action.



                                                     Respectfully Submitted,

                                                     /s/ David B. Levin
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